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                                                                 8

                                                                 9
                                                                10                                 UNITED STATES BANKRUPTCY COURT

                                                                11                                             DISTRICT OF NEVADA
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                                                                12                                                          ***
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                                                                13
                                                                          IN RE:                                                         Case No. 18-12951-leb
                                                                14
                                                                          VIRTUAL COMMUNICATIONS                                         Chapter 11
                                                                15        CORPORATION,
                                                                16                                Debtor.                                Date: August 14, 2018
                                                                                                                                         Time: 9:30 a.m.
                                                                17

                                                                18         BRIEF IN SUPPORT OF CONFIRMATION OF FIRST AMENDED CHAPTER 11
                                                                         PLAN OF REORGANIZATION OF VIRTUAL COMMUNICATIONS CORPORATION
                                                                19                AND FINAL APPROVAL OF THE DISCLOSURE STATEMENT
                                                                20            Debtor and plan proponent Virtual Communications Corporation, (“Debtor” or “VCC”) by
                                                                21   and through its counsel, Bart K. Larsen, Esq. of Kolesar & Leatham, hereby submits this brief in
                                                                22   support of confirmation of the First Amended Chapter 11 Plan of Reorganization for Virtual
                                                                23   Communications Corporation [ECF No. 38] and final approval of the First Amended Disclosure
                                                                24   Statement for Chapter 11 Plan of Reorganization for Virtual Communications Corporation [ECF
                                                                25   No. 39].1
                                                                26
                                                                27
                                                                     1
                                                                      Capitalized terms not otherwise defined in this Motion shall have the definitions as provided for in the Disclosure
                                                                28   Statement and Plan of Reorganization.


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                                                                 1                                         I.   BACKGROUND

                                                                 2          1.      On May 22, 2018 (the “Petition Date”), the Debtor filed its voluntary petition for

                                                                 3   relief under Chapter 11 of the United States Bankruptcy Code.

                                                                 4          2.      Since the Petition Date, the Debtor has continued to operate its businesses and

                                                                 5   manage its property as a debtor and debtor in possession pursuant to §§ 1107(a) and 1108.

                                                                 6          3.      The initial § 341 meeting of creditors took place on June 28, 2018. A continued

                                                                 7   §341 meeting of creditors took place and was concluded on August 1, 2018 [ECF No. 68].

                                                                 8          4.      The Debtor is current in the filing of all monthly operating reports.

                                                                 9          5.      On June 13, 2018, the Debtor filed its First Amended Chapter 11 Plan of
                                                                10   Reorganization for Virtual Communications Corporation [ECF No. 38] (the “Plan”) and First

                                                                11   Amended Disclosure Statement for Chapter 11 Plan of Reorganization for Virtual
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                                                                12   Communications Corporation [ECF No. 39] (the “Disclosure Statement”).
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                                                                13          6.      On June 25, 2018, the Bankruptcy Court entered its Order (1) Conditionally

                                                                14   Approving Adequacy of the Proposed Disclosure Statement to Accompany Plan of Reorganization;

                                                                15   and (2) Setting a Hearing on Confirmation of the Debtor’s Chapter 11 Plan of Reorganization and

                                                                16   Related Deadlines [ECF No. 42], which, among other things, scheduled a hearing to consider

                                                                17   confirmation of the Plan to take place on August 14, 2018 and set a deadline of August 7, 2018 for

                                                                18   creditors holding Claims in Impaired Classes to deliver ballots voting to accept or reject the Plan

                                                                19   to the Debtor’s counsel.
                                                                20          7.      Debtor’s counsel has received ballots from creditors holding Claims in Impaired

                                                                21   Classes 1, 2, 3, 4, and 5 in sufficient numbers and amounts to determine that each Impaired Class

                                                                22   has voted to accept the Plan.

                                                                23          8.      A Certification of Acceptance of Debtor’s Plan of Reorganization [ECF No. 73]

                                                                24   (the “Ballot Summary”) was filed on August 10, 2018.

                                                                25                II.   FINAL APPROVAL OF THE DISCLOSURE STATEMENT

                                                                26          A.      The Bankruptcy Court Should Approve the Disclosure Statement on a
                                                                27          The standard for approval of a disclosure statement accompanying a chapter 11 plan of

                                                                28   reorganization is embodied in 11 U.S.C. § 1125(a)(1), which reads:

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                                                                            § 1125 Postpetition disclosure and solicitation
                                                                 1
                                                                            (a)     In this section -
                                                                 2
                                                                            “adequate information”’ means information of a kind, and in sufficient detail, as
                                                                 3          far as is reasonably practicable in light of the nature and history of the debtor and
                                                                            the condition of the debtor’s books and records, including a discussion of the
                                                                 4          potential material Federal tax consequences of the plan to the debtor, any successor
                                                                            to the debtor, and a hypothetical investor typical of the holders of claims or interests
                                                                 5          in the case, that would enable such a hypothetical investor of the relevant class to
                                                                            make an informed judgment about the plan, but adequate information need not
                                                                 6          include such information about any other possible or proposed plan and in
                                                                            determining whether a disclosure statement provides adequate information, the
                                                                 7          court shall consider the complexity of the case, the benefit of additional information
                                                                            to creditors and other parties in interest, and the cost of providing additional
                                                                 8          information.
                                                                 9          To assist in determining what constitutes adequate information, case law has given rise to
                                                                10   certain criteria to aid the courts in evaluating the sufficiency or the adequacy of disclosure

                                                                11   statements:
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                                                                12          Relevant factors for evaluating the adequacy of a disclosure statement may include:
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                                                                            (1) the events which led to the filing of a bankruptcy petition; (2) a description of
                                                                13          the available assets and their value; (3) the anticipated future of the company; (4)
                                                                            the source of information stated in the disclosure statement; (5) a disclaimer; (6)
                                                                14          the present condition of the debtor while in Chapter 11; (7) the scheduled claims;
                                                                            (8) the estimated return to creditors under a Chapter 7 liquidation; (9) the
                                                                15          accounting method utilized to produce financial information and the name of the
                                                                            accountants responsible for such information; (10) the future management of the
                                                                16          debtor; (11) the Chapter 11 plan or a summary thereof; (12) the estimated
                                                                            administrative expenses, including attorneys’ and accountants’ fees; (13) the
                                                                17          collectability of accounts receivable; (14) financial information, data, valuations or
                                                                            projections relevant to the creditors’ decision to accept or reject the Chapter 11
                                                                18          plan; (15) information relevant to the risks posed to creditors under the plan; (16)
                                                                            the actual or projected realizable value from recovery of preferential or otherwise
                                                                19          voidable transfers; (17) litigation likely to arise in a nonbankruptcy context; (18)
                                                                            tax attributes of the debtor; and (19) the relationship of the debtor with affiliates.
                                                                20
                                                                     In re Metrocraft Pub. Servs., Inc., 39 B.R. 567, 568 (Bankr. N.D. Ga. 1984); see In re Jeppson, 66
                                                                21
                                                                     B.R. 269, 292 (Bankr. Utah 1986). In addition, “[a]n informed judgment cannot be made without
                                                                22
                                                                     information about the plan and about how the provisions of the plan will be put into effect.” In re
                                                                23
                                                                     Michelson, 141 B.R. 715, 718-719 (Bankr. E.D. Cal. 1992). Thus, every plan of reorganization
                                                                24
                                                                     must provide adequate means for the plan’s implementation. Id. Pursuant to the above quoted
                                                                25
                                                                     provisions and case law, the Court has the authority to and should approve the disclosures
                                                                26
                                                                     contained in the Disclosure Statement as being adequate and fully satisfying the requirements of
                                                                27
                                                                     those provisions.
                                                                28

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                                                                 1              The Disclosure Statement contains the information required by Official Form 25B,

                                                                 2   including: (a) a statement regarding the Debtor’s background, ownership, and pre-bankruptcy

                                                                 3   operating and financial history2; (b) a discussion of the reason for the bankruptcy filing3; (c) a

                                                                 4   summary of proceedings to date in the bankruptcy case4; (d) a summary of assets5; (e) a description

                                                                 5   of unclassified claims, including estimated amounts of administrative and priority claims6; (f) a

                                                                 6   description of claims by class, including an estimate of the amount of claims in each class as

                                                                 7   reflected by the schedules and proofs of claim on file7; (g) a summary of the treatment of

                                                                 8   unclassified and classified claims under the proposed plan8; (h) a discussion of the means of

                                                                 9   implementing the proposed plan9; (i) a summary of risk factors10; (j) a discussion of the tax
                                                                10   consequences of the proposed plan11; (k) a summary of the treatment of executory contracts under

                                                                11   the proposed plan12; (l) a liquidation analysis13; and (m) A statement as to how the proponent
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                                                                12   intends to achieve the payments proposed14.
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                                                                13              On June 19, 2018, creditors Reva Waldo, Anthony White, Steven Hotchkiss, Troy

                                                                14   Suntheimer, Robin Suntheimer, Steve Ghesquire, and Jackie Stone (the “Liebrader Creditors”)

                                                                15   filed their Objection to Disclosure Statement [ECF No. 41] in which they complain that the

                                                                16   Disclosure Statement should include a statement specifying that the confirmation of the Plan would

                                                                17   have no effect on their claims against the Debtor’s former officer and director, Ronald Robinson,

                                                                18

                                                                19   2
                                                                         See Disclosure Statement § II. (A)-(D).
                                                                     3
                                                                20       See id. at § II. (B).
                                                                     4
                                                                         See id. at § II. (E).
                                                                21   5
                                                                         See id. at § II. (A)-(D), Exhibit B, Exhibit E.
                                                                22   6
                                                                         See id. at § III. (B).
                                                                     7
                                                                23       See id. at § III. (C).
                                                                     8
                                                                         See id. at § II. (C).
                                                                24   9
                                                                         See id. at § III. (D), Exhibit D.
                                                                25   10
                                                                          See id. at §§ I. (C), III. (E).
                                                                     11
                                                                26        See id. at § III. (G).
                                                                     12
                                                                          See id. at § III. (F)(1).
                                                                27   13
                                                                          See id. at Exhibit E.
                                                                28   14
                                                                          See id. at § III. (D), Exhibit D.


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                                                                 1   based on Robinson’s guaranty of certain obligations of the Debtor. The Leibrader Creditor’s

                                                                 2   objection obviously lacks merit.

                                                                 3         Nothing in either the Plan or the Disclosure Statement purports to release, discharge, or

                                                                 4   otherwise affect any claim any person may hold against Robinson. Furthermore, § IV. (D) of the

                                                                 5   Disclosure Statement specifically states that the limited releases contemplated under the Plan do

                                                                 6   not include the release of any “claims against any former officer or director of the Debtor” or

                                                                 7   “claims that may be asserted by third parties against persons or entities other than the Debtor.”

                                                                 8   The Debtor does not and never has maintained that the confirmation of the Plan would result in

                                                                 9   the release or discharge of any claim against Robinson based on any personal guaranty of any
                                                                10   obligation of the Debtor. As such, there is no need to address the matter in the Disclosure

                                                                11   Statement. The Court should determine Disclosure Statement contains adequate information
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                                                                12   within the meaning of § 1125 and should be approved on a final basis.
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                                                                13                                  III.     PLAN CONFIRMATION

                                                                14          B.       The Plan Should Be Confirmed Because It Complies with All Applicable
                                                                                     Requirements of Bankruptcy Code Section 1129(a).
                                                                15
                                                                            Section 1129(a) provides that the Court shall confirm a chapter 11 plan where each of the
                                                                16
                                                                     statute’s applicable sixteen subsections has been satisfied. 11 U.S.C. § 1129(a). As described
                                                                17
                                                                     below, the Plan satisfies every one of the applicable subsections of § 1129(a) and should therefore
                                                                18
                                                                     be confirmed.
                                                                19
                                                                                     1.    Bankruptcy Code Section 1129(a)(1) – The Plan Complies with
                                                                20                         Applicable Provisions of the Bankruptcy Code.
                                                                21          Section 1129(a)(1) requires that a plan “compl[y] with the applicable provisions of this

                                                                22   title.” 11 U.S.C. § 1129(a)(1). The legislative history of this subsection indicates that it

                                                                23   embodies and incorporates the requirements of §§ 1122 and 1123, which govern the

                                                                24   classification of claims and interests and the requisite mandatory contents of a plan. See H.R.

                                                                25   Rep. No. 595, 95th Cong., 1st Sess. 412 (1977). As demonstrated below, the Plan complies

                                                                26   with §§ 1122 and 1123, and with all other applicable provisions of the Bankruptcy Code,
                                                                27   and thus satisfies the requirements of this subsection.

                                                                28                         a.       The Plan Satisfies the Requirements of Bankruptcy Code

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                                                                                                      Section 1122.
                                                                 1
                                                                             Section 1122 provides that “a plan may place a claim or interest in a particular class
                                                                 2
                                                                     only if such claim or interest is substantially similar to other claims or interests of such class.”
                                                                 3
                                                                     11 U.S.C. § 1122(a). By its plain language, § 1122 prohibits only the classification of dissimilar
                                                                 4
                                                                     claims into the same class. See Alan J. Resnick, et al., 7 COLLIER ON BANKRUPTCY at
                                                                 5
                                                                     ¶ 1122.03[1] (16th ed. rev. 2011). As such, courts have broad discretion to determine the
                                                                 6
                                                                     propriety of classification schemes in light of the facts of each case. See Steelcase Inc. v. Johnston
                                                                 7
                                                                     (In re Johnston), 21 F.3d 323, 327 (9th Cir. 1994) (“bankruptcy court judges must have
                                                                 8
                                                                     discretionary power in classifying claims under § 1122(a)”).
                                                                 9
                                                                             Here, § III of the Plan places creditor claims in four different classes. Each claim placed
                                                                10
                                                                     in a particular class is substantially similar to all other claims in that class. Thus, the Plan satisfies
                                                                11
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                                                                     § 1122. Moreover, although not required by statute, each claim that is placed in a particular
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                                                                     class is substantially dissimilar from those claims that have been placed in other classes. While
                                                                13
                                                                     Classes 1 and 2 both contain secured claims, the claims in each class are materially dissimilar.
                                                                14
                                                                     Class 1 consists of a claim secured by a prepetition retainer paid to an attorney that represented
                                                                15
                                                                     the Debtor in various state court proceedings prior to the Petition Date. Class 2 includes a claim
                                                                16
                                                                     that is secured by certain shares of common stock that the Debtor pledged as collateral to secure a
                                                                17
                                                                     payment due under a settlement agreement. Class 3 consists of approximately 100 claims based
                                                                18
                                                                     on certain unsecured promissory notes payable to Provident Trust Group, LLC as custodian for
                                                                19
                                                                     various individuals that elected to loan funds to the Debtor through self-directed individual
                                                                20
                                                                     retirement accounts. Class 4 includes all other general unsecured claims. No creditor or party in
                                                                21
                                                                     interest has objected to confirmation of the Plan on the basis that any claim in any of the above
                                                                22
                                                                     Classes has been improperly classified.
                                                                23
                                                                                             b.       The Plan Satisfies the Mandatory Requirements of Bankruptcy
                                                                24                                    Code Section 1123(a).
                                                                25           Section 1123(a) sets forth eight mandatory requirements for the contents of a chapter 11

                                                                26   plan. 11 U.S.C. § 1123(a). Additionally, § 1123(b) sets forth various provisions that may, but

                                                                27   need not, be included within a chapter 11 plan. 11 U.S.C. § 1123(b). As shown below, the

                                                                28   Plan complies with all applicable requirements of these subsections.

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                                                                                                     (1)    Bankruptcy Code Section            1123(a)(1):    The    Plan
                                                                 1                                          Designates Classes of Claims.
                                                                 2          Section 1123(a)(1) generally requires that chapter 11 plans designate classes of claims and

                                                                 3   interests. More particularly, § 1123(a)(1) requires that chapter 11 plans designate classes of

                                                                 4   claims, other than claims of a kind specified in §§ 507(a)(2) (administrative expense claims),

                                                                 5   507(a)(3) (claims arising during the “gap” period in an involuntary case), or 507(a)(8) (priority tax

                                                                 6   claims). In re Art & Architecture Books of the 21st Century, 2016 WL 1118743, 6 (Bankr. C.D.

                                                                 7   Cal. Mar. 18, 2016). Administrative claims and priority tax claims do not require class designation

                                                                 8   under § 1123(a)(1) “because their rights may not be impaired. The Bankruptcy Code specifies how

                                                                 9   they must be treated in a plan unless the holder of the claim affirmatively agrees to a less favorable
                                                                10   treatment.” In re Western Asbestos Co., 313 B.R. 832, 841 n.11 (Bankr. N.D. Cal. 2003). Section

                                                                11   III of the Plan satisfies this requirement by expressly classifying all claims other than
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                                                                12   administrative expense claims, “gap” claims, and priority tax claims.
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                                                                13                                   (2)    Bankruptcy Code Section 1123(a)(2): The Plan Does Not
                                                                                                            Include Any Unimpaired Class of Claims.
                                                                14
                                                                            Section 1123(a)(2) requires a plan to “specify any class of claims or interests that is not
                                                                15
                                                                     impaired under the plan.” Section 1124(1) provides that “a class of claims or interests is impaired
                                                                16
                                                                     under a plan unless . . . the plan leaves unaltered the legal, equitable, and contractual rights to
                                                                17
                                                                     which such claim or interest entitles the holder of such claim or interest.” The Ninth Circuit has
                                                                18
                                                                     held that, when determining impairment under § 1124, “[t]he narrow question that thus arises is
                                                                19
                                                                     whether . . . ‘legal, equitable, [or] contractual rights’ were changed by the Plan [.]” See Art &
                                                                20
                                                                     Architecture, 2016 WL 1118743 at 9 (emphasis in original) (citing L & J Anaheim Assocs. v.
                                                                21
                                                                     Kawasaki Leasing Int’l, Inc. (In re L & J Anaheim Assocs.), 995 F.2d 940, 943 (9th Cir.1993)).
                                                                22
                                                                     The Plan does not include any Class of claims or interests as unimpaired. Accordingly, §
                                                                23
                                                                     1123(a)(2) is irrelevant.
                                                                24
                                                                                                     (3)    Bankruptcy Code Section 1123(a)(3): The Plan Specifies
                                                                25                                          the Treatment of Impaired Classes.
                                                                26          Section 1123(a)(3) requires that a plan “specify the treatment of any class of claims or
                                                                27   interests that is impaired under the plan.” 11 U.S.C. § 1123(a)(3); see also Art & Architecture,

                                                                28   2016 WL 1118743 at 9. The Plan satisfies this requirement by specifying that Classes 1, 2, 3, 4,

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                                                                 1   and 5 are impaired and by specifying the treatment of the claims in each of those Classes.

                                                                 2                                  (4)     Bankruptcy Code Section 1123(a)(4): The Plan Provides
                                                                                                            for the Same Treatment of Claims within Each Class.
                                                                 3
                                                                            Section 1123(a)(4) requires that a plan “provide the same treatment for each claim or
                                                                 4
                                                                     interest of a particular class, unless the holder of a particular claim or interest agrees to a less
                                                                 5
                                                                     favorable treatment of such particular claim or interest.” 11 U.S.C. § 1123(a)(3); see also Art &
                                                                 6
                                                                     Architecture, 2016 WL 1118743 at 10. The Plan satisfies this requirement by providing the same
                                                                 7
                                                                     treatment to each claim that is classified in each particular class established under the Plan unless
                                                                 8
                                                                     the holder of a claim agrees to a less favorable treatment of its claim.
                                                                 9
                                                                                                    (5)     Bankruptcy Code Section 1123(a)(5): The Plan Provides
                                                                10                                          Adequate Means of Implementation.
                                                                11          Section 1123(a)(5) requires a plan of reorganization to “provide adequate means for the
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                                                                12   plan’s implementation” and sets forth a non-inclusive list of ten examples for doing so. 11 U.S.C.
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                                                                13   § 1123(a)(5). The Plan satisfies this requirement by setting forth the specific and straightforward

                                                                14   means for the Plan’s implementation. Among other things, the Plan provides for the continued

                                                                15   corporate existence of the Debtor, the retention of all property of the estate by the Debtor, the

                                                                16   treatment of executory contracts and unexpired leases, making distributions in accordance with the

                                                                17   terms and conditions of the Plan, and the release of claims.

                                                                18                                  (6)     Bankruptcy Code Section 1123(a)(6): The Plan Provides
                                                                                                            Appropriate Charters for the Reorganized Debtor.
                                                                19
                                                                            Section 1123(a)(6) requires, with respect to a corporate debtor, that a chapter 11 plan
                                                                20
                                                                     provide for the inclusion in the charter of a reorganized debtor of a provision prohibiting the
                                                                21
                                                                     issuance of non-voting equity securities and, if necessary, providing protections for holders of
                                                                22
                                                                     preferred shares. 11 U.S.C. § 1123(a)(6). Section VI.(A)(6) of the Plan satisfies this requirement
                                                                23
                                                                     by providing that the Debtor’s organization documents shall be amended to include, among other
                                                                24
                                                                     things, a prohibition against the issuance of non-voting equity interests.
                                                                25
                                                                                                    (7)     Bankruptcy Code Section 1123(a)(7): The Plan
                                                                26                                          Appropriately Provides for Officers and Directors.
                                                                27          Section 1123(a)(7) requires that a plan “contain only provisions that are consistent with the

                                                                28   interests of creditors and equity security holders and with public policy with respect to the manner

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                                                                 1   of selection of any officer, director, or trustee under the plan. ...” 11 U.S.C. § 1123(a)(7). The Plan

                                                                 2   contemplates that the Debtor will retain ownership and control of all assets of the estate with no

                                                                 3   material change in the current management or corporate structure of the Debtor. The Plan does

                                                                 4   not contain any substantive provisions governing the selection of any officer, director or trustee

                                                                 5   for the Debtor. Such matter will be governed by the Debtor’s articles of incorporation and bylaws,

                                                                 6   which will be adopted without material change by the Reorganized Debtor after confirmation.

                                                                 7                          c.       The Plan Includes Appropriate Permissive Provisions under
                                                                                                     Bankruptcy Code Section 1123(b).
                                                                 8
                                                                            Section 1123(b) provides that a chapter 11 plan may provide for the relief described in §§
                                                                 9
                                                                     1123(b)(1)-(b)(5), and may include, pursuant to § 1123(b)(6) “any other appropriate provision
                                                                10
                                                                     not inconsistent with the applicable provisions of this title.” 11 U.S.C. § 1123(b)(6). In short, §
                                                                11
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                                                                     1123(b) is intended to be a broad grant of authority. As stated by the United States Supreme Court:
                                                                12
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                                                                     “The Code … grants the bankruptcy courts residual authority to approve reorganization plans
                                                                13
                                                                     including any appropriate provision not inconsistent with the applicable provisions of this title.”
                                                                14
                                                                     United States v. Energy Resources Co., Inc., 495 U.S. 545, 549 (1990) (internal quotations omitted).
                                                                15
                                                                     The Plan contains a number of permissive provisions, all of which are intended to facilitate a prompt
                                                                16
                                                                     resolution of this case and are appropriate under the circumstances and under § 1123(b).
                                                                17
                                                                                                     (1)    Impaired and Unimpaired Claims.
                                                                18
                                                                            Section III of the Plan provides that Classes 1, 2, 3, 4, and 5 are impaired.
                                                                19
                                                                                                     (2)    Assumption and Rejection of Contracts.
                                                                20
                                                                            As permitted by § 1123(b)(2), § V of the Plan provides for the assumption or rejection of
                                                                21
                                                                     the Debtor’s executory contracts and unexpired leases, if any.
                                                                22
                                                                                                     (3)    Retention of Claims.
                                                                23
                                                                            Section X of the Plan provides for the retention of claims in accordance with §
                                                                24
                                                                     1123(b)(3)(B).
                                                                25
                                                                                                     (4)    Modification of Secured Claims.
                                                                26
                                                                            Under Section III of the Plan, the secured claim in Class 2 is modified as set forth therein.
                                                                27
                                                                                      2.    Bankruptcy Code Section 1129(a)(2): The Debtor Has Complied with
                                                                28                          All Applicable Provisions of the Bankruptcy Code.

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                                                                 1              Section 1129(a)(2) requires that the plan proponent “compl[y] with the applicable

                                                                 2   provisions of [the Bankruptcy Code].” 11 U.S.C. § 1129(a)(2). The legislative history of §

                                                                 3   1129(a)(2) reflects that this provision is intended to encompass the disclosure and solicitation

                                                                 4   requirements under §§ 1125 and 1126. See H.R. Rep. No. 95-595, at 412 (1977); S. Rep. No. 95-

                                                                 5   989, at 126 (1978)(‘‘Paragraph (2) [of § 1129(a)] requires that the proponent of the plan comply

                                                                 6   with the applicable provisions of chapter 11, such as § 1125 regarding disclosure”); see also In re

                                                                 7   Sierra-Cal, 210 B.R. 168, 176 (Bankr. E.D. Cal. 1997); In re Trans World Airlines, Inc., 185 B.R.

                                                                 8   302, 313 (Bankr. E.D. Mo. 1995) (“The principal purpose of section 1129(a)(2) of the Bankruptcy

                                                                 9   Code is to assure that the plan proponents have complied with the disclosure requirements of §
                                                                10   1125 of the Bankruptcy Code in connection with the solicitation of acceptances of the plan.”).

                                                                11              The Disclosure Statement Order was entered on June 25, 2018. As set forth in the
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                                                                12   Disclosure Statement Order, the Court provisionally found that the Disclosure Statement contains
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                                                                13   “adequate information” within the meaning of § 1125. The Disclosure Statement Order further

                                                                14   established procedures and deadlines for solicitation of votes to accept or reject the Plan. The

                                                                15   Debtor served its solicitation package regarding the Plan on June 29, 2018.15 As evidenced by the

                                                                16   Debtor’s recently filed Certificate of Acceptance of Debtor’s Plan of Reorganization (the “Ballot

                                                                17   Summary”) [ECF No. 73], the Debtor complied with the procedures set forth in the Disclosure

                                                                18   Statement Order. The Plan thus complies with the requirements of § 1129(a)(2).

                                                                19                      3.    Bankruptcy Code Section 1129(a)(3): The Debtor Has Proposed the
                                                                                              Plan in Good Faith.
                                                                20
                                                                                Section 1129(a)(3) requires that a chapter 11 plan be “proposed in good faith and not by
                                                                21
                                                                     any means forbidden by law.” 11 U.S.C. § 1129(a)(3). The primary purpose of chapter 11 is to
                                                                22
                                                                     reorganize the debtor and to maximize the value of its estate. See In re Bonner Mall Partnership,
                                                                23
                                                                     2 F.3d 899, 915 (9th Cir. 1993), cert. dismissed, 513 U.S. 18 (1994). Accordingly, a plan satisfies
                                                                24
                                                                     Bankruptcy Code § 1129(a)(3) when it “is proposed with the legitimate and honest purpose to
                                                                25
                                                                     reorganize and has a reasonable hope of success.” Brite v. Sun Country Development, Inc. (In re
                                                                26
                                                                     Sun Country Development, Inc.), 764 F.2d 406, 408 (5th Cir. 1985).
                                                                27

                                                                28   15
                                                                          See ECF No. 54.


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                                                                 1              “A plan is proposed in good faith where it achieves a result consistent with the objectives

                                                                 2   and purposes of the Code,” In re Trans Max Tech., Inc., 349 B.R. 80, 88-89 (Bankr. D. Nev. 2002)

                                                                 3   (citing Platinum Capital v. Sylmar Plaza L.P. (In re Sylmar Plaza, L.P.), 314 F.3d 1070, 1074 (9th

                                                                 4   Cir. 2002), cert. denied, 538 U.S. 1035 (2003)). The good faith determination is based on the

                                                                 5   totality of the circumstances, In re Trans Max, 349 B.R. at 88-89 (Bankr. D. Nev. 2002) (citing In

                                                                 6   re Sylmar Plaza, L.P., 314 F.3d at 1074), and is made on a case by case basis. See In re Marshall,

                                                                 7   298 B.R. 670, 675-76 (Bankr. C.D. Cal. 2003).

                                                                 8              The Liebrader Creditors filed an Objection to First Amended Plan of Reorganization [ECF

                                                                 9   No. 66] in which they complain that the Plan was not proposed in good faith because the Plan
                                                                10   allows the Debtor’s former officer and director, Ronald Robinson, and a current officer and

                                                                11   director, S. Vernon Rodriguez, to retain their respective minority equity interests in the Debtor.
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                                                                12   While the Liebrader Creditors are clearly unhappy with the prospect of Robinson and Rodriguez
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                                                                13   retaining their equity interests, they have not explained how the proposed treatment of equity

                                                                14   interest under the Plan equates to a lack of good faith or is otherwise impermissible. Robinson is

                                                                15   approximately 86 years old. He was removed from his positions as an officer and director of the

                                                                16   Debtor prior to the Petition Date and has no role in the management or operation of the Debtor.

                                                                17   The Debtor agrees with the Liebrader Creditors that the Debtor holds viable claims against

                                                                18   Robinson based on his misuse of company funds. Those claims, as well as the reasons why the

                                                                19   Debtor has not pursued such claims, are discussed at length in the Disclosure Statement.16 The
                                                                20   Debtor simply does not have the resources to undertake an expensive legal battle with Robinson

                                                                21   at this time. However, the Debtor’s claims against Robinson are preserved under the Plan.17

                                                                22              The Plan represents the culmination of the Debtor’s restructuring efforts and of this chapter

                                                                23   11 case. At all times, the Debtor’s goal has been to maximize value for the benefit for all

                                                                24   stakeholders. The Plan accomplishes this goal by providing a recovery for unsecured creditors,

                                                                25   paying administrative and other priority claims in full, paying all secured claims, and allowing the

                                                                26   Debtor to continue its operations. Furthermore, each of the impaired Classes 1, 2, 3, 4, and 5 voted
                                                                27   16
                                                                          See Disclosure Statement at § II.(E)(5) and Exhibit E.
                                                                28   17
                                                                          See Plan at § X.(B).


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                                                                 1   to accept the Plan.

                                                                 2                  4.      Bankruptcy Code Section 1129(a)(4): The Plan Provides for Requisite
                                                                                            Court Approval of Payments for Services in Connection with this Case.
                                                                 3
                                                                            Bankruptcy Code § 1129(a)(4) requires that “[a]ny payment made or to be made by the
                                                                 4
                                                                     [plan] proponent, by the debtor, or by a person issuing securities or acquiring property under the
                                                                 5
                                                                     plan, for services or for costs and expenses in or in connection with the case, or in connection with
                                                                 6
                                                                     the plan and incident to the case,” be approved by the Court as reasonable. 11 U.S.C. § 1129(a)(4);
                                                                 7
                                                                     see In re Resort Int’l, Inc., 145 B.R. 412, 475-76 (Bankr. D.N.J. 1990); In re Elsinore Shore
                                                                 8
                                                                     Assocs., 91 B.R. 238, 268 (Bankr. D.N.J. 1988) (§ 1129(a)(4) satisfied where plan provides for
                                                                 9
                                                                     payment of “allowed” administrative expenses); In re Future Energy Corp., 83 B.R. 470, 488
                                                                10
                                                                     (Bankr. S.D. Ohio 1988) (“Court approval of payments for services and expenses are governed by
                                                                11
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                                                                     various Bankruptcy Code provisions – e.g., §§ 328, 329, 330, 331 and 503(b) – and need not be
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                                                                12
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                                                                     explicitly provided for in a chapter 11 plan.”).
                                                                13
                                                                            Section II of the Plan provides that fee claims of professionals employed by the estate must
                                                                14
                                                                     be filed no later than 60 days after the effective date of the Plan and will be paid after approval of
                                                                15
                                                                     by the Bankruptcy Court. Additionally, § II of the Plan provides that other administrative claims
                                                                16
                                                                     will be paid only after such claims are allowed by the Bankruptcy Court. The Plan therefore
                                                                17
                                                                     complies with § 1129(a)(4).
                                                                18
                                                                                    5.      Bankruptcy Code Section 1129(a)(5): The Plan Discloses Directors and
                                                                19                          Officers.
                                                                20          Section 1129(a)(5) requires: (i) that the proponent of a plan disclose the identity and

                                                                21   affiliations of any individual proposed to serve after confirmation as a director, officer, or voting

                                                                22   trustee of the debtor; (ii) that the appointment or continuance in office of such individuals be

                                                                23   consistent with the interests of creditors and shareholders and with public policy; and (iii) that the

                                                                24   proponent disclose the identity of any insider that will be employed or retained by the reorganized

                                                                25   debtor and the nature of the compensation to be provided to such insider. 11 U.S.C. §§

                                                                26   1129(a)(5)(A) and (B).
                                                                27          As set forth in § III.(D)(2) of the Disclosure Statement, Michael Yoder and S. Vernon

                                                                28   Rodriguez will continue to serve as the officers and directors of the Reorganized Debtor and will

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                                                                 1   continue to manage the day-to-day affairs of the Reorganized Debtor. The Plan therefore complies

                                                                 2   with § 1129(a)(5).

                                                                 3                   6.      Bankruptcy Code Section 1129(a)(6): The Plan Does Not Effect Any
                                                                                             Change in Publicly Regulated Rates.
                                                                 4
                                                                             Section 1129(a)(6) requires that any regulatory commission with jurisdiction over the rates
                                                                 5
                                                                     of a debtor approve any changes in rate regulations provided in a plan. 11 U.S.C. § 1129(a)(6).
                                                                 6
                                                                     The Debtor is not subject to any such regulation and the Plan does not propose any rate changes.
                                                                 7
                                                                     Bankruptcy Code § 1129(a)(6) therefore is not applicable.
                                                                 8
                                                                                     7.      Bankruptcy Code Section 1129(a)(7): The Plan Is in the “Best
                                                                 9                           Interests” of Creditors.
                                                                10           Section 1129(a)(7) establishes what is commonly referred to as the “best interests test.”

                                                                11   Specifically, § 1129(a)(7)(A) requires that, with respect to each class of impaired claims or
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                                                                12   interests under a plan, every holder of a claim or interest in such impaired class either (i) accept
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                                                                13   the plan, or (ii) receive or retain property of a value, as of the effective date of the plan, that is not

                                                                14   less than the amount that such holder would receive or retain if the debtor were liquidated under

                                                                15   chapter 7 of the Bankruptcy Code. See 11 U.S.C. § 1129(a)(7)(A). All impaired Classes have

                                                                16   voted to accept the Plan.        Accordingly, the Plan satisfies the best interests test under §

                                                                17   1129(a)(7)(A)(i). No further analysis is needed.

                                                                18                   8.      Bankruptcy Code Section 1129(a)(8): The Plan Has Been Accepted by
                                                                                             All Impaired Classes Entitled to Vote.
                                                                19
                                                                             Section 1129(a)(8) requires that each class of claims and interests established under a plan
                                                                20
                                                                     either accept the plan or not be impaired under the plan. 11 U.S.C. § 1129(a)(8). “A class of
                                                                21
                                                                     claims has accepted a plan if such plan has been accepted by creditors . . . that hold at least two-
                                                                22
                                                                     thirds in amount and more than one-half in number of the allowed claims of such class held by
                                                                23
                                                                     creditors . . . that have accepted or rejected such plan.” 11 U.S.C. § 1126(c). A class of claims
                                                                24
                                                                     that is not impaired is deemed to have accepted the plan. 11 U.S.C. §§ 1126(f) and 1129(a)(8). A
                                                                25
                                                                     class of claims that does not receive or retain any property under the plan is deemed to reject. 11
                                                                26
                                                                     U.S.C. § 1126(g). Classes 1, 2, 3, 4, and 5 are impaired under the Plan. As set forth in the Ballot
                                                                27
                                                                     Summary, Classes 1, 2, 3, 4, and 5 each voted to accept the Plan. Therefore, the requirements of
                                                                28

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                                                                 1   § 1129(a)(8) are satisfied.

                                                                 2                    9.    Bankruptcy Code Section 1129(a)(9): The Plan Complies with the
                                                                                            Required Treatment of Administrative Claims and Priority Claims.
                                                                 3
                                                                            Section 1129(a)(9) of the Bankruptcy Code requires that persons holding claims entitled to
                                                                 4
                                                                     priority under § 507(a) receive specified cash payments under the plan unless the holder of such a
                                                                 5
                                                                     claim agrees to a different treatment. 11 U.S.C. § 1129(a)(9). Pursuant to § II of the Plan, and in
                                                                 6
                                                                     accordance with §§ 1129(a)(9)(A) and (B) of the Bankruptcy Code, the Plan provides that each
                                                                 7
                                                                     holder of an Allowed Administrative Claim will be paid in cash either on or as soon as reasonably
                                                                 8
                                                                     practicable after the confirmation date, in the ordinary course of business, or as may be otherwise
                                                                 9
                                                                     agreed. The Plan therefore satisfies the requirements of § 1129(a)(9).
                                                                10
                                                                                      10.   Bankruptcy Code Section 1129(a)(10): At Least One Impaired Class of
                                                                11
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                                                                                            Claims Has Voted to Accept the Plan, Not Including Any Votes of
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                                                                                            Insiders.
                                                                12
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                                                                            Section 1129(a)(10) requires that at least one class of claims that is impaired under the plan
                                                                13
                                                                     has voted to accept the plan, determined without including any acceptance of the plan by any
                                                                14
                                                                     insider. 11 U.S.C. § 1129(a)(10). As set forth in the Ballot Summary, Classes 1, 2, 3, 4 and 5 have
                                                                15
                                                                     each voted to accept the Plan. No Ballots were received from insiders. The Plan therefore satisfies
                                                                16
                                                                     § 1129(a)(10).
                                                                17
                                                                                      11.   Bankruptcy Code Section 1129(a)(11): The Plan is Feasible.
                                                                18
                                                                            Bankruptcy Code § 1129(a)(11) requires that the Court find that “[c]onfirmation of the plan
                                                                19
                                                                     is not likely to be followed by the liquidation, or the need for further financial reorganization, of
                                                                20
                                                                     the debtor or any successor to the debtor under the plan, unless such liquidation or reorganization
                                                                21
                                                                     is proposed in the plan.” 11 U.S.C. § 1129(a)(11). Bankruptcy Code § 1129(a)(11) does not require
                                                                22
                                                                     an absolute assurance of financial success by the debtor. Rather, the so-called feasibility standard
                                                                23
                                                                     requires only “a ‘reasonable’ prospect for financial stability and success.” In re Sound Radio, Inc.,
                                                                24
                                                                     103 B.R. 521, 524 (D.N.J. 1989), aff’d, 908 F.2d 964 (3d Cir. 1990); accord Kane v. Johns-
                                                                25
                                                                     Manville Corp. (In re Johns-Manville Corp.), 843 F.2d 636, 649 (2d Cir. 1988) (“[T]he feasibility
                                                                26
                                                                     standard is whether the plan offers a reasonable assurance of success. Success need not be
                                                                27
                                                                     guaranteed.”); In re Orlando Investors, L.P., 103 B.R. 593, 600 (Bankr. E.D. Pa. 1989) (“The
                                                                28

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                                                                 1   purpose behind the statutory requirement of feasibility is to prevent confirmation of visionary

                                                                 2   schemes which promise creditors and equity security holders more under a proposed plan than the

                                                                 3   debtor can possibly attain after confirmation.”) (internal quotations omitted).

                                                                 4              Although no plan is without some risk18, the Debtor has established sufficient evidence that

                                                                 5   the Plan is feasible, i.e., that its confirmation is not likely to be followed by the need for further

                                                                 6   financial reorganization. No creditors or party in interest has objected to confirmation of the Plan

                                                                 7   on the basis that it is not feasible. In fact, there is little reason to doubt the feasibility of the Plan

                                                                 8   as it does not require any substantial payments to creditors. Instead, the vast majority of the

                                                                 9   Debtor’s outstanding debts will be converted to equity interests in the Debtor under the Plan.
                                                                10                        12.      Bankruptcy Code Section 1129(a)(12): The Plan Provides for Payment
                                                                                                   of all Statutory Fees.
                                                                11
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                                                                                Bankruptcy Code § 1129(a)(12) requires that a chapter 11 plan provide that all fees payable
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                                                                     under 28 U.S.C. § 1930 (consisting primarily of quarterly fees owing to the United States Trustee)
                                                                13
                                                                     be paid on or before the effective date of the plan. The Debtor is current in the payment of all
                                                                14
                                                                     quarterly fees owed to the United States Trustee. Moreover, § XIII. A of the Plan provides for the
                                                                15
                                                                     payment when due of all post confirmation fees payable pursuant to 28 U.S.C. § 1930.
                                                                16
                                                                                          13.      Bankruptcy Code Sections 1129(a)(13), (14), (15), and (16) are Not
                                                                17                                 Applicable to the Debtor.
                                                                18              Section 1129(a)(13) is not applicable to the Debtor because the Debtor has no retiree

                                                                19   benefits within the meaning of § 1129(a)(13). See 11 U.S.C. § 1129(a)(13). Bankruptcy Code §§
                                                                20   1129(a)(14) and (15) are only applicable to individual debtors. See 11 U.S.C. §§ 1129(a)(14) and

                                                                21   (15). Finally, the Debtor is a commercial business entity, not a charitable organization. As such,

                                                                22   § 1129(a)(16) does not apply. See 11 U.S.C. § 1129(a)(16).

                                                                23              C.        Bankruptcy Code Section 1129(b) Is Not Applicable.
                                                                24              Section 1129(b) is not applicable to the Debtor’s Plan, as all requirements of § 1129(a),

                                                                25   including § 1129(a)(8), are satisfied. See, e.g., In re Zenith Elecs. Corp., 241 B.R. 92, 106-07

                                                                26   (Bankr. D. Del. 1999), aff’d, 258 F.3d 180 (3d Cir. 2001); In re New Midland Plaza Assocs., 247
                                                                27

                                                                28   18
                                                                          See § III. E of Disclosure Statement discussing potential risks.


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                                                                 1   B.R. 877, 895 (Bankr. S.D. Ga. 2000). As set forth above, in accordance with § 1129(a)(8)(A), all

                                                                 2   impaired Classes – Classes 1, 2, 3, 4, and 5 – have voted to accept the Plan.

                                                                 3                                        IV.    CONCLUSION

                                                                 4         For all of the foregoing reasons, the Debtor respectfully requests that the Court enter an

                                                                 5   order confirming the Plan and approving the Disclosure Statement on a final basis.

                                                                 6          DATED this 10th day of August, 2018.

                                                                 7
                                                                                                                       KOLESAR & LEATHAM
                                                                 8
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